         Case 2:22-cv-00153-GMB Document 6 Filed 03/09/22 Page 1 of 1                        FILED
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                                                                                    U.S. DISTRICT COURT
                                                                                        N.D. OF ALABAMA


                    UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF ALABAMA
                         SOUTHERN DIVISION

 D’WANNA WILLIAMS,                          )
                                            )
       Plaintiff,                           )
                                            )
 v.                                         )   Case No. 2:22-cv-153-GMB
                                            )
 MORROW BROTHERS, LLC,                      )
                                            )
       Defendant.                           )
                                            )

                                       ORDER

      Before the court is Plaintiff D’Wanna Williams’ Notice of Voluntary

Dismissal With Prejudice. Doc. 4. Pursuant to Federal Rule of Civil Procedure

41(a)(1)(A)(i), a plaintiff may dismiss an action without court order by filing a notice

of dismissal before an opposing party answers the complaint or files a motion for

summary judgment. Here, Defendant has not answered the complaint or filed a

motion for summary judgment.           Plaintiff’s voluntary dismissal therefore is

appropriate. Accordingly, this case is DISMISSED WITH PREJUDICE.

      DONE and ORDERED on March 9, 2022.



                                     _________________________________
                                     GRAY M. BORDEN
                                     UNITED STATES MAGISTRATE JUDGE
